IN THE SUPREME COURT OF TEXAS


                              ((((((((((((((((
                                 No. 07-0457
                              ((((((((((((((((

 Linda Thomas, Individually And As Personal Representative Of The Estate Of
    Damon Hollimon, Deceased And Ashley Dominque Hollimon, Individually,
                                 Petitioners

                                     v.

   Institutional Division of The Texas Department of Criminal Justice and
                         Glenda Pierson, Respondents

            ((((((((((((((((((((((((((((((((((((((((((((((((((((
                           On Petition for Review
            ((((((((((((((((((((((((((((((((((((((((((((((((((((


      ORDER

      1.    The Courts abatement order issued March 5, 2008 is  extended  to
June 16, 2008 and this case remains ABATED to allow the parties  to  proceed
with settlement negotiations.
      2.    This case is removed from the Court's active docket  until  June
16, 2008, by which time the parties must file either a status  report  or  a
motion to dismiss.  The parties shall immediately notify  this  Court  about
any changes in status in the settlement proceedings.

      Done at the City of Austin, this 11th day of June, 2008.

                                       [pic]
                                       Blake A. Hawthorne, Clerk
                                       Supreme Court of Texas


                                       By Claudia Jenks, Chief Deputy Clerk




